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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE _
WESTERN DIVISION 05 AUG l l m 9` ’B

 

PAUL FARNSWORTH, COURT

a/k/a RONNIE BRADFIELD

 

Plaintiff,

\_»V\./\..u\.z

vs. ) No. 03*2950 BV

EDWARD BAXTER, et al. ,

'~..p\.r'\.¢'~_r

Defendant.

 

ORDER DENYING PLAINTIFF'S MOTION TO COMPEL DISCOVERY

 

Before the court is the February' 24, 2005 motion. of the
plaintiff, Paul Farnsworth, a/k/a Ronnie Bradfield, to compel the
defendant, Edward Baxter, et al., to provide additional responses
to requests for production of documents and interrogatories. This
motion has been referred to the United States Magistrate Judge.
For the following reasons, the motion is denied.

In regard to Farnsworth's request for documents, Baxter
objected to each request on the basis that the requests sought
irrelevant information not calculated to lead to the discovery of
admissible evidence and were unduly'burdensome. Similar objections
were given by Baxter in response to more than half of Farnsworth's
interrogatories and requests for admissions.

Farnsworth claims that Baxter's responses to his requests for

production of documents and to interrogatories are not sufficient.

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Specifically, Farnsworth contends that the information sought is
relevant to his case and that it would not be burdensome for Baxter
to produce proper responses to his requests. Furthermore,
Farnsworth maintains that Baxter’s responses appear to be
untruthful and that Baxter is intentionally stalling the discovery
process by failing to properly respond to his requests.

After reviewing the requests for production of documents and
the interrogatories that have been propounded by the plaintiff,
along with defendant Baxter’s responses, the court finds that the
information provided by Baxter is sufficient and that Baxter's
objections to certain requests are legitimate. Moreover,
Farnsworth has not identified with specificity which of Baxter's
responses he feels are insufficient. Additionally, Farnsworth has
failed to demonstrate how certain requests are relevant to the
issues in this case. Accordingly, Farnsworth's motion to compel
further responses to his discovery requests is denied.

IT IS SO ORDERED this 9th day of August, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

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Honorable J. Breen
US DISTRICT COURT

